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Toshiba America, Inc., Toshiba America
Information Systems, Inc., and Toshiba
America Electronic Components, Inc.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

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IN RE: CATHODE RAY TUBE (CRT) Case No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917

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This Document Relates to
Case No. 13-cv-02171-SC (N.D. Cal.)

DELL INC. AND DELL PRODUCTS L.P., DECLARATION OF DANA E.
FOSTER IN SUPPORT OF THE
Plaintiffs, TOSHIBA DEFENDANTS’
ADMINISTRATIVE MOTION TO
Vv. FILE DOCUMENTS UNDER SEAL
PURSUANT TO CIVIL LOCAL
HITACHI, LTD., et al., RULES 7-11 AND 79-S(d)
Defendants.

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DECLARATION OF DANA E. FOSTER IN SUPPORT OF THE
TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE
DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
Case No. 07-5944-SC
MDL No. 1917

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I, Dana E. Foster, hereby declare as follows:

1. I am an attorney with the law firm of White & Case LLP, counsel for
Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba Information Systems, Inc.,
and Toshiba America Electronic Components, Inc. (collectively, the “Toshiba Defendants”).

2. I submit this declaration in support of the Toshiba Defendants’ Administrative
Motion to File Documents Under Seal Pursuant to Civil Local Rules 7-11 and 79-5(d). I have
personal knowledge of the facts stated herein, and I could and would competently testify
thereto if called as a witness.

3. I submit this declaration pursuant to Civil Local Rule 79-5(d) to establish that
certain portions of the Toshiba Defendants’ Response to Plaintiffs’ October 15, 2013 Letter
Seeking Discovery Order And To Strike Errata (the “Toshiba Defendants’ Response”) and
Exhibits 1 and 8 to the Declaration of Matthew N. Frutig in Support of the Toshiba
Defendants’ Response (“Frutig Decl.”) are sealable in that they quote from, summarize, or are
excerpts of deposition testimony designated as “Highly Confidential” by the Toshiba
Defendants pursuant to the Stipulated Protective Order. Dkt No. 306.

4. Exhibit 1 to the Frutig Decl. is an excerpt from the transcript of the Deposition
of Shinichiro Tsuruta, dated September 25-27, 2013, designated by the Toshiba Defendants as
Highly Confidential.

5. Exhibit 8 to the Frutig Decl. is an excerpt from the DVD of the deposition of
Yasuki Yamamoto, dated July 1-3, 2013, designated by the Toshiba Defendants as Highly
Confidential.

6. The Toshiba Defendants’ Response refers to, quotes from, or summarizes
excerpts from deposition transcripts that the Plaintiffs have already filed under seal, and that
the Toshiba Defendants have designated as “Highly Confidential” pursuant to the Stipulated
Protective Order.

7. These documents contain confidential, non-public information about the
Toshiba Defendants’ business practices, and describe the Toshiba Defendants’ relationship

with companies that remain important to the Toshiba Defendants’ competitive positions.

DECLARATION OF DANA E. FOSTER IN SUPPORT OF THE
TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE
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Because the information contained in these transcripts is not publicly available, disclosing the
information presents a risk of undermining the Toshiba Defendants’ relationships, would
cause harm with respect to the Toshiba Defendants’ competitors and customers, and would

place the Toshiba Defendants at a competitive disadvantage.

I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

Executed this 29" day of October, 2013, in Washington, D.C.

Lis

Dana E. Foster

DECLARATION OF DANA E. FOSTER IN SUPPORT OF THE
TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE
DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
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CERTIFICATE OF SERVICE

On October 29, 2013, I caused a copy of “DECLARATION OF DANA E. FOSTER
IN SUPPORT OF THE TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION TO
FILE DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND
79-5(d)” to be electronically filed via the Court’s Electronic Case Filing System, which

constitutes service in this action pursuant to the Court’s order of September 29, 2008.

EO

Dana E. Foster

DECLARATION OF DANA E. FOSTER IN SUPPORT OF THE
TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE
DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
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